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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 JOHN E. REID AND ASSOCIATES, INC.,       )
                                          )
               Plaintiff,                 )
                                          )   Case No. 19-cv-06781
        v.                                )
                                          )   Honorable Manish Shah
 NETFLIX, INC., AVA DUVERNAY, and         )
 ARRAY ALLIANCE, INC.,                    )
                                          )
               Defendants.                )
                                          )


               MEMORANDUM OF LAW IN SUPPORT OF
 DEFENDANTS AVA DUVERNAY’S AND ARRAY ALLIANCE, INC.’S MOTION TO
           DISMISS FOR LACK OF PERSONAL JURISDICTION




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        This Court lacks personal jurisdiction over Defendants Ava DuVernay (“DuVernay”) and

Array Alliance, Inc. (“Array Alliance”) (collectively, “DuVernay Defendants”), neither of whom

has sufficient minimum contacts with Illinois. Plaintiff John E. Reid & Associates, Inc. (“Reid”),

an Illinois corporation, alleges defamation and other causes of action against Netflix, Inc.

(“Netflix”), DuVernay and Array Alliance based on a single-line in the four-part Netflix series

When They See Us (the “Series”). The Series focuses on the wrongful conviction and subsequent

exoneration of five teenage boys for the brutal rape of a woman in Central Park in 1989. All of the

events depicted took place in New York—the crime of which the teenagers were falsely accused,

their trial in New York state court and their incarceration in New York state prisons. The Series

was researched and written by DuVernay and other writers in New York, California and Georgia,

and was filmed entirely in New York. The Series has nothing to do with Illinois. And neither

DuVernay, nor Array Alliance, have any connection to Illinois related to Plaintiff’s claims.

        Plaintiff’s attempt to assert jurisdiction by lumping DuVernay and Array Alliance together

with Netflix, which distributed the Series, is entirely inappropriate; it is hornbook law that in

personal jurisdiction inquiries, each defendant’s contacts with the forum state must be assessed

individually. Nor does the fact that Plaintiff is located in Illinois establish jurisdiction. Under

controlling Supreme Court and Seventh Circuit precedent, “the plaintiff cannot be the only link

between the defendant and the forum.” Walden v. Fiore, 571 U.S 277, 285 (2014). There

simply is no basis for asserting jurisdiction in Illinois over the DuVernay Defendants; and they

therefore request that this Court dismiss them pursuant to Federal Rule of Civil Procedure 12(b)(2).1



1
  Netflix, the distributor of the Series, does not challenge the Court’s exercise of personal jurisdiction
over the company, and has separately moved to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) for failure
to state a claim as a matter of law. If the Court decides not to dismiss DuVernay and Array Alliance
from this case, they will join in Netflix’s Motion to Dismiss.
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                                  FACTUAL BACKGROUND

        The Netflix Film Series, When They See Us. The critically-acclaimed Series When They

See Us was released by Netflix in May 2019 and distributed worldwide through Netflix’s

subscription-based Internet streaming service. (First Amended Complaint (“FAC”) at ¶ 4.) The

Series follows the arrest, conviction, imprisonment and subsequent exoneration of the five

teenage boys for the 1989 rape of a jogger in Central Park in New York City. The boys, all New

York City residents, were arrested by New York City police officers and tried in New York state

court. Each of them served time in New York state prison before ultimately being exonerated

when an unrelated man confessed to the rape and attack for which they had been wrongfully

convicted. Following their exoneration, the men brought and settled a civil lawsuit against the

City of New York.

        Ava DuVernay. Defendant Ava DuVernay is an award-winning film writer, producer

and director. (Declaration of Ava DuVernay (“DuVernay Decl.”) at ¶ 1.) DuVernay lives and

works in California. (Id.) She is the director and one of the writers and executive producers of

the Series at issue in this litigation. (Id. at ¶ 3; FAC at ¶ 21.) DuVernay researched and wrote

the script for the Series from California, New York and Georgia; and the Series was filmed

entirely in New York. (DuVernay Decl. at ¶ 4.) Post-production on the Series took place in

California. (Id.) DuVernay did not travel to Illinois in connection with the Series and did not

contact anyone in Illinois in connection with the Series or for her research and writing of the

Series. (Id. at ¶ 5.)

        Array Alliance, Inc. Array Alliance is a Delaware non-profit, which utilizes mentorship,

education and grant-making to foster a sense of community and elevate the profile of all women

and people of color in the film and television industry. (Id. at ¶ 10.) Array Alliance, which was

founded by DuVernay, is headquartered in California and has no offices or employees in Illinois,


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nor any property or business in Illinois. (Id. at ¶ 9) Array had no involvement in the creation,

production or distribution of the Series. (Id. at ¶ 11.) The “Array” logo that appears at the end

of the credits for the Series is not a reference to Array Alliance, but is for a different, legally

separate, company. (Id. at ¶ 12.)

        Plaintiff Reid and The First Amended Complaint. Plaintiff Reid, headquartered in

Illinois, alleges it is the “leading law enforcement training firm” in the United States and has

“developed the most widely used interrogation technique in the country.” (Id. at ¶¶ 19, 40, 52,

53.) Plaintiff alleges it has trained every branch of the Unites States Military, and has presented

in the “United States, Canada, Europe, Asia, and the Middle East.” (Id. at ¶ 19.)

        The FAC alleges nearly-identical counts against Ms. DuVernay and Array as it does

against Netflix. The basis of Plaintiff’s claim is a passing reference to “The Reid Technique” in

30 seconds of dialogue in part four of the Series. (Id. at ¶ 10.) The Series does not mention

Illinois or Plaintiff John E. Reid and Associates, Inc. by name.

        Plaintiff attempts to establish personal jurisdiction over DuVernay and Array Alliance in

the FAC based on conclusory and unsupported allegations that they “transacted business and

committed tortious acts within the State of Illinois that are the subject of this action.” (Id. at ¶¶

24-25.) The accompanying declaration of Defendant DuVernay establishes that those allegations

are baseless, and cannot form the basis for personal jurisdiction, let alone a prima facie case.

Further, Plaintiff’s self-serving allegation that the “DuVernay Defendants knew that the effects

of their defamatory and disparaging statements about Reid and the Reid Technique would be felt

by Reid in Illinois” (id. at ¶¶ 83-86) is insufficient to establish personal jurisdiction under

governing Supreme Court and Seventh Circuit precedent.




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                                           ARGUMENT

       This Court lacks personal jurisdiction over DuVernay and Array Alliance. A single

passing reference to Plaintiff’s nationally-licensed interrogation method—“The Reid

Technique”—in the fourth episode of the Series is simply not sufficient to confer personal

jurisdiction in Illinois over DuVernay and Array Alliance, who otherwise have no relevant

connection to Illinois and were not directly responsible for the distribution of the Series in

Illinois (or elsewhere). The Series itself has nothing to do with Illinois; it is centered around

events that took place entirely in New York, and was written, produced and filmed in New York

and California.

       The Illinois long-arm statute is “coextensive with federal due process requirements . . .”;

accordingly, the traditional “two-step inquiry collapses into one: whether the exercise of

personal jurisdiction over the defendants comports with constitutional due process.”

Ticketreserve, Inc. v. Viagogo, Inc., 656 F. Supp. 2d 775, 781 (N.D. Ill. 2009). The answer is no

with respect to DuVernay and Array Alliance. Under the well-established due process analysis,

specific jurisdiction2 is appropriate only if “(1) defendants purposefully availed themselves of the

privilege of conducting business in the forum state or purposefully directed their activities at the

state; (2) the alleged injury arose from defendants’ forum-related activities; and (3) the exercise

of jurisdiction [ ] comport[s] with traditional notions of fair play and substantial justice.” Ratliff

v. Celadon Trucking Servs., Inc., No. 17 CV 7163, 2018 WL 1911797, at *4 (N.D. Ill. Apr. 23,

2018) (Shah, J.). None of these requirements are met with respect to DuVernay and Array

Alliance, whose contacts with the forum state must be considered individually.




2
  The FAC does not allege, and Plaintiff cannot show, that either DuVernay or Array Alliance are
subject to general jurisdiction in Illinois. Defendants thus address only specific jurisdiction.


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       A.      Netflix’s Contacts with Illinois Cannot Be Imputed to DuVernay and Array
               Alliance.

       The Amended Complaint alleges that “the DuVernay Defendants—in collaboration with

Netflix—published the false statements in When They See Us[.]” (FAC at ¶ 80.) This bare

allegation of publication, however, cannot serve to create a basis for personal jurisdiction.

DuVernay and Array Alliance did not distribute the Series (see DuVernay Decl. at ¶¶ 6, 11);

Netflix did. And Netflix’s conduct in distributing the Series cannot be attributed to the

DuVernay Defendants.

       “Controlling case law has long made clear that in personal jurisdiction inquiries, ‘[e]ach

defendant’s contacts with the forum State must be assessed individually.’” AFI Holdings of

Illinois, Inc. v. Nat’l Broad. Co., 239 F. Supp. 3d 1097, 1101 (N.D. Ill. 2017) (citations omitted).

In an illustrative case involving a nationally distributed film, this Court held that “Twentieth

Century Fox’s efforts to distribute the film in Illinois cannot be imputed to [producers]

Witherspoon and Papandrea on the basis of any independent contribution they made to the film’s

production.” Weller v. Flynn, 312 F. Supp. 3d 706, 718 (N.D. Ill. 2018) (dismissing producers

for lack of personal jurisdiction). The same was true in Colo’n v. Akil, 449 F. App’x 511 (7th

Cir. 2011). There, the Seventh Circuit affirmed that plaintiff “failed to show that the defendants

intentionally aimed their conduct at Indiana because she submitted no evidence that any of the

defendants had anything to do with the Indiana broadcast of” the allegedly infringing show. Id.

at 514. Here too, when considering only the conduct of DuVernay and Array Alliance, as

required, the sufficient contacts needed to establish personal jurisdiction are utterly absent, as

shown in further detail below.




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       B.      The Exercise of Personal Jurisdiction Over DuVernay and Array Alliance
               Individually Fails Every Requirement of the Due Process Test.

               1.      Plaintiff’s Claims Do Not “Arise Out of or Relate To” DuVernay’s
                       and Array Alliance’s Contacts with Illinois.

       For a minimum contacts analysis, “[t]he relevant contacts are those that center on the

relations among the defendant, the forum, and the litigation.” Advanced Tactical Ordnance Sys.,

LLC v. Real Action Paintball, Inc., 751 F.3d 796, 801 (7th Cir. 2014), as corrected (May 12,

2014); see also United Airlines, Inc. v. Zaman, 152 F. Supp. 3d 1041, 1047 (N.D. Ill. 2015)

(among requirements for personal jurisdiction is that “contacts [with the forum state] bear on the

substantive legal dispute”). Here, the relevant inquiry is DuVernay’s and Array Alliance’s

contacts with Illinois related to the Series. In short, there are none.

       DuVernay researched and wrote the Series from California, New York, and Georgia,

directed the filming in New York and worked as a producer from California and New York.

(DuVernay Decl. at 4.) She did not travel to Illinois in connection with the Series and did not

contact anyone in Illinois in connection with the Series. (Id. at 5.)3 Array Alliance’s

connections to the Series and Illinois are even fewer, as Array Alliance had no involvement in

the creation or production of the Series, and has no offices or employees in Illinois. (Id. at ¶¶ 9,

11) Without any relevant suit-related contacts in Illinois, this Court cannot exercise personal

jurisdiction over DuVernay and Array Alliance.

               2.      DuVernay and Array Alliance Did Not “Purposefully Avail”
                       Themselves of the Privilege of Conducting Activities in Illinois.

       The Supreme Court’s 2014 decision in Walden v. Fiore forecloses a finding of personal

jurisdiction over DuVernay and Array under the due process clause. In finding that a Georgia


3
 The fact that DuVernay may have been to Illinois on other business (id. at ¶ 8) has no bearing on the
personal jurisdiction analysis for this case.


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defendant did not have sufficient minimum contacts with Nevada to be subject to personal

jurisdiction there, the Court in Walden held that, “the plaintiff cannot be the only link between

the defendant and the forum. Rather, it is the defendant’s conduct that must form the necessary

connection with the forum State that is the basis for its jurisdiction over him.” 571 U.S at 285

(emphasis added).

       The Walden Court clarified its decades-old decision in Calder v. Jones, 465 U.S. 783

(1984), which dealt with actress Shirley Jones’s defamation claims against the National Enquirer,

a Florida corporation, and the paper’s reporter and editor, who were Florida residents, all of

whom challenged the California state court’s exercise of jurisdiction over them. Id. at 785-86.

In Calder, the Supreme Court found jurisdiction existed in California under the “effects test”

reasoning that: “California is the focal point both of the story and of the harm suffered.

Jurisdiction over petitioners is therefore proper in California based on the ‘effects’ of their

Florida conduct in California.” Id. at 789 (emphasis added). When reexamined in Walden, the

Court explained that Calder was based on “the injury to the plaintiff’s reputation in the

estimation of the California public . . . combined with the various facts that gave the article a

California focus[.]” 571 U.S. at 288 (emphasis added).

       Walden’s holding that “the plaintiff cannot be the only link between the defendant and

the forum” is dispositive in this case. There is no other link between DuVernay Defendants and

Illinois other than this lawsuit filed by Plaintiff. Significantly, in Walden, even though the

defendant “allegedly directed his conduct at plaintiffs whom he knew had Nevada connections,”

the Supreme Court held that “did not create sufficient contacts with Nevada” to sustain

jurisdiction. 571 U.S at 289 (emphasis added). Plaintiff alleges, without any support, that the

“DuVernay Defendants knew that the effects of their defamatory and disparaging statements




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about Reid and the Reid Technique would be felt by Reid in Illinois.” (FAC at ¶ 86.) “That’s

exactly the sort of allegation the Justices deemed inadequate in Walden[.]” Ariel Investments,

LLC v. Ariel Capital Advisors LLC, 881 F.3d 520, 522 (7th Cir. 2018).4

        Further, as clarified in Walden, the critical combination of alleged harm to the plaintiff in

California with additional “facts that gave the article a California focus” are utterly absent here.

In Calder, California was the focal point of not only the harm suffered, but also the story itself.

        The allegedly libelous story concerned the California activities of a California
        resident. It impugned the professionalism of an entertainer whose television career
        was centered in California. The article was drawn from California sources, and
        the brunt of the harm, in terms both of respondent’s emotional distress and the
        injury to her professional reputation, was suffered in California.

Calder, 465. U.S. at 788-89 (emphasis added). The same cannot remotely be said of Illinois in

this case. The Series focuses on five New York teenagers who were arrested by New York City

police for a crime committed in Central Park, were tried in New York state court and served

sentences in New York state prison. The Series has no relation to Illinois to satisfy personal

jurisdiction under Calder.5 The single fleeting reference to The Reid Technique in a nearly five-

hour long Series is in no way comparable to Calder and in no way establishes an Illinois focus.




4
  Even pre-Walden, courts in the Seventh Circuit recognized that “a finding of injury in a forum state,
without something else, is not adequate to confer jurisdiction.” Jackson v. California Newspapers
P'ship, 406 F. Supp. 2d 893, 897 (N.D. Ill. 2005); see also e.g. Mobile Anesthesiologists Chicago, LLC
v. Anesthesia Assocs. of Houston Metroplex, P.A., 623 F.3d 440, 447 (7th Cir. 2010) (“The cases that
have found express aiming have all relied on evidence beyond the plaintiff’s mere residence in the
forum state.”); Hoffman v. Barnes, No. 12 C 31, 2012 WL 1021837, at *4 (N.D. Ill. Mar. 26, 2012)
(“The recent cases interpreting Calder consistently require ‘something more’ beyond residence of the
plaintiff or injury in the forum state from an alleged intentional tort.”).
5
  See also, e.g., Busch v. Viacom Int’l, Inc., 477 F. Supp. 2d 764 (N.D. Tex. 2007) (finding no
jurisdiction over Jon Stewart, where Texas resident sued Viacom and Stewart for defamation and
misappropriation; production and filming of the challenged The Daily Show segment occurred in New
York and “there are no allegations or a shred of evidence that Texas was the ‘focal point’ of the subject
matter, or that the sources relied upon for the challenged broadcast were in Texas”).


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        Following Walden, the Seventh Circuit and courts in this district have consistently

dismissed defendants in cases where, as here, the plaintiff and plaintiff’s alleged injury is the

only connection to the forum. See, e.g., Ariel Investments, LLC, 881 F.3d at 521-22 ( “[t]he

district court thought that Ariel Capital had set out to injure Ariel Investments, knowing that it is

located in Illinois. That’s exactly the sort of allegation the Justices deemed inadequate in

Walden”; reversing denial of motion to dismiss). 6

        For instance, in Advanced Tactical Ordnance Sys., LLC, the Seventh Circuit reversed the

district court’s finding of personal jurisdiction that was based only on the fact that defendant

“knew that [plaintiff] was an Indiana company and could foresee that its misleading emails and

sales would harm [plaintiff] in Indiana.” 751 F.3d at 802. The connection to Illinois is even

weaker in this case, where Plaintiff admits it has a reputation with customers throughout the

United States and even internationally. (FAC at ¶¶ 2, 19.) See Jackson, 406 F. Supp. 2d at 899

(“because plaintiff pleads injury to his national reputation, Illinois has a lesser interest in

adjudicating the suit than it would if plaintiff was only pleading injury to his local Illinois

reputation.”).

        As this Court observed in Dobrowolski v. Intelius, Inc., “[c]onsidering [plaintiff’s]

arguments and changing a single variable—her residency (for example, Indiana instead of

Illinois)—there would be absolutely nothing tying [defendant’s] conduct to Illinois.” No. 17 CV


6
   Many district court decisions are to the same effect. See, e.g., Exam. Bd. of Prof. Home Inspectors
v. Int’l Ass’n of Certified Home Inspectors, 2018 WL 1744673, at *3 (N.D. Ill. Apr. 11, 2018) (“the
Supreme Court has explicitly rejected the notion that mere injury to a forum resident is a sufficient
connection to the forum”); Chopra v. Naik, 2017 WL 4339804, at *5 (N.D. Ill. Sept. 30, 2017)
(“Plaintiffs have failed to establish that Defendants’ conduct was expressly aimed at Illinois” where
“there is nothing else, apart from [plaintiff’s] injury, connecting [defendant’s] actions to this forum”);
Bittman v. Fox, 2015 WL 5612061, at *5 (N.D. Ill. Sept. 23, 2015) (no personal jurisdiction where “the
plaintiff is the defendant’s only connection to the forum state”); Hoffman, 2012 WL 1021837, at *4
(no personal jurisdiction where “there is no evidence of express aiming beyond the plaintiffs’ mere
residence in Illinois”).


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1406, 2017 WL 3720170, at *5 (N.D. Ill. Aug. 29, 2017) (Shah, J.) (granting dismissal). Unlike

a case in which the Court has to determine whether the Defendants suit-related contacts with the

forum are “fortuitous” and “attenuated”, Weller, 312 F. Supp. 3d at 718. DuVernay and Array

Alliance have no relevant contacts with Illinois. Under these facts, the exercise of personal

jurisdiction over DuVernay and Array Alliance is wholly inappropriate and they should be

dismissed.

               3.      Asserting Jurisdiction Over DuVernay and Array Alliance Would
                       Offend Fair Play and Substantial Justice.

       Because Plaintiff cannot show that this action arises out of DuVernay’s and Array

Alliance’s contacts with Illinois or that DuVernay and Array Alliance purposefully availed

themselves of doing business in Illinois, the exercise of personal jurisdiction over these

Defendants—an individual and a non-profit—would offend fair play and substantial justice. The

Seventh Circuit has held that merely making material accessible online “should not open a

defendant up to personal jurisdiction in every spot on the planet where that interactive website is

accessible. To hold otherwise would offend ‘traditional notions of fair play and substantial

justice.’” Advanced Tactical Ordnance Sys., LLC, 751 F.3d at 803 (quoting Int’l Shoe Co. v.

Washington, 326 U.S. 310, 316 (1945)). That principle is even more apt in this case, where

DuVernay and Array Alliance have no control over the Netflix’s Internet distribution platform.

(See DuVernay Decl. at ¶¶ 6, 11.)

       Here, given Ms. DuVernay and Array Alliance’s lack of contact with Illinois related to

the Series, and the Series’ New-York focus and total lack of connection to Illinois, the exercise

of personal jurisdiction over DuVernay and Array Alliance is simply not compatible with due

process. See e.g. Bittman v. Fox, No. 14 C 08191, 2015 WL 5612061, at *6 (N.D. Ill. Sept. 23,

2015) (“[I]t would indeed offend traditional notions of fair play and substantial justice to hale



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into an Illinois court an online journalist who has no connection to the state merely because the

subject of his article resides there”); Sifuna v. Accreditation Council of Pharmacy Educ., No. 17

CV 0028, 2017 WL 5891224, at *6 (N.D. Ill. Nov. 28, 2017) (holding that the exercise of

personal jurisdiction over foreign defendants “does not comport with traditional notions of fair

play and substantial justice”).

                                         CONCLUSION

       Because Defendants DuVernay and Array have no suit-related contacts with Illinois, the

exercise of personal jurisdiction over them in this Court would offend due process, and the Court

should dismiss DuVernay and Array Alliance pursuant to Federal Rule of Civil Procedure

12(b)(2).


Dated: November 26, 2019                     Respectfully submitted,

                                             DENTONS US LLP


                                             /s/ Natalie J. Spears
                                             One of the attorneys for Defendants

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of November, 2019 a copy of the foregoing was

filed electronically via the ECF filing system.




                                              /s/ Natalie J. Spears
